           Case 1:21-cr-00276-CKK Document 47 Filed 03/01/23 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                              :
UNITED STATES OF AMERICA                      :
                                              :          Criminal No. 21-cr-0276 (CKK)
                  v.                          :
                                              :
                                              :
           MACKRELL,
                                              :
                                              :
                       Defendant.             :


                               NOTICE OF WITHDRAWAL

       The United States of America, by and through its attorney, the United States

Attorney for the District of Columbia, informs the Court that Assistant United States

Attorney    Brian P. Kelly, as counsel for the United States, is terminating their

appearance as counsel of record in this matter. Any other government counsel noted on

the docket at the time of this filing will remain counsel for the United States.


                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY
                                              D.C. Bar Number 481052



                                              By:_______________________
                                              Assistant United States Attorney
                                              D.C. Bar No. 983689
                                              United States Attorney’s Office
                                              601 D Street NW
                                              Washington, D.C. 20530
                                              Telephone: 202-252-7503
                                              E-mail: brian.kelly3@usdoj.gov
